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                           UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF SOUTH CAROLINA

  IN RE:
                                                                  Case No. 19-05657-jw

  Amir Golestan,                                                        Chapter 11

                                           Debtor.

           NOTICE OF APPEARANCE PURSUANT TO FED. R. BANKR. P. 9010(b),
                      AND REQUEST FOR SERVICE OF PAPERS

           PLEASE TAKE NOTICE that, pursuant to Fed. R. Bankr. P. 9010(b), the undersigned,
  counsel for Kristin M. Golestan requests that all notices given or required to be given in this
  case and all papers served or required to be served in this case be given and served upon:
  G. William McCarthy, Jr.
  Daniel J. Reynolds, Jr.
  McCarthy Reynolds & Penn, LLC
  1517 Laurel St.
  Columbia, SC 29201
  bmccarthy@mccarthy-lawfirm.com
  dreynolds@mccarthy-lawfirm.com

           PLEASE TAKE FURTHER NOTICE that, the foregoing request includes the notices and
  papers referred to in Fed. R. Bankr. P. 2002 and also includes, without limitation, notices of any
  orders, pleadings, motions, applications, complaints, demands, hearing, request or petitions,
  disclosure statements, answering or reply papers, memoranda and briefs in support of any of the
  foregoing and any other document brought before this Court with respect to these proceedings,
  whether formal or informal, whether written or oral, and whether transmitted or conveyed by
  mail, delivery, telephone, telegraph, telex or otherwise.
           RESPECTFULLY SUBMITTED on this the 6th day of November 2019, at Columbia,
  South Carolina.
                                                     McCARTHY REYNOLDS & PENN, LLC

                                              By:    /s/ Daniel J. Reynolds, Jr.
                                                     G. William McCarthy, Jr., Dist. I.D. # 2762
                                                     Daniel J. Reynolds, Jr., Dist. I.D. # 9232
                                                     Attorneys for Kristin M. Golestan
                                                     1517 Laurel St. (29201)
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